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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

UNITED STATES OF AMERICA         §
Plaintiff,                       §
                                 §                  No. SA:24-M -00138(1)
vs.                              §
                                 §                  Ref: 2:21cr1553
(1) CHRISTOPHER NEDIO VILLANUEVA §
Defendant,                       §


                                  ORDER OF REMOVAL

TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF TEXAS:

     (1) CHRISTOPHER NEDIO VILLANUEVA ,charged in a proceeding pending in the

                            WESTERN DISTRICT OF TEXAS

Del Rio                                 DIVISION for     Supervised Release Violation,


and having been arrested in the San Antonio Division.

  YOU ARE HEREBY COMMANDED to remove                    (1) CHRISTOPHER  forthwith
                                                        NEDIO VILLANUEVA

to the , Del Rio                                               DIVISION, and there deliver
him/her to the United States Marshal for that district or to some other officer authorized to
receive him/her.

     ORDERED at SAN ANTONIO, Texas on 30th day of January, 2024.




                                               RICHARD B. FARRER
                                               UNITED STATES MAGISTRATE JUDGE
